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10
                                UNITED STATES DISTRICT COURT
11
                                         DISTRICT OF NEVADA
12
     JOSE CHUNG LUO, Individually and on               CASE NO.: 2:21-cv-01612-JAD-BNW
13   Behalf of All Others Similarly Situated,
                                                       STIPULATION AND [PROPOSED]
14                         Plaintiffs,                 ORDER STAYING DEADLINE TO
                                                       ANSWER THE COMPLAINT
15          v.
16   SPECTRUM PHARMACEUTICALS, INC.,
     JOSEPH W. TURGEON, KURT A.
17   GUSTAFSON, and FRANCOIS LEBEL,
18                         Defendants.
19
20          Plaintiff Jose Chung Luo ("Plaintiff") and Defendants Spectrum Pharmaceuticals, Inc.,
21   Joseph W. Turgeon, Kurt A. Gustafson, and Francois Lebel (collectively, "Defendants," and
22   together with Plaintiff, the "Parties"), by and through their undersigned counsel, hereby stipulate
23   and agree as follows and jointly request that the Court enter the below Order approving this
24   Stipulation:
25          WHEREAS, the Class Action Complaint for Violations of the Federal Securities Laws
26   (the "Initial Complaint") was filed in this action on August 31, 2021; and
27          WHEREAS, this action is a putative private securities class action litigation subject to the
28   Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4;

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 1          WHEREAS, the Parties anticipate that, after the Court has designated a lead plaintiff

 2   pursuant to 15 U.S.C. § 78u-4(a)(3)(B) ("Lead Plaintiff"), the Lead Plaintiff will file an amended

 3   class action complaint;

 4          WHEREAS, the Parties have simultaneously submitted a stipulation staying Defendants'

 5   time to answer the Initial Complaint;

 6          WHEREAS, the parties have met and conferred, and agree that a response from

 7   Defendants to the Initial Complaint, which will in all likelihood be superseded by a consolidated

 8   or amended class complaint filed by the Lead Plaintiff, would invite waste, duplicative effort, and

 9   needless expenditure of judicial and party resources.

10          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED THAT:

11          1.      Lead plaintiff will file an amended complaint within sixty (60) days following

12                  appointment as lead plaintiff.

13          2.      Defendants will answer or otherwise respond within sixty (60) days thereafter; if

14                  Defendants file a motion to dismiss, the lead plaintiff may file an opposition to the

15                  motion to dismiss forty-five (45) days thereafter; and Defendants may file a reply

16                  brief in further support within thirty (30) days of the filing of lead plaintiff's

17                  opposition

18          DATED this 1st day of March, 2022.

19
     MUEHLBAUER LAW OFFICE, LTD.                       PISANELLI BICE PLLC
20
21   By:    /s/ Andrew R. Muehlbauer                   By:    /s/ Jordan T. Smith
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     Liaison Counsel for Plaintiff                     Counsel for Defendant Spectrum
24                                                     Pharmaceuticals, Inc.
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 1   POMERANTZ LLP                                            PAUL HASTINGS LLP

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     By:    /s/ Thomas Przybylowski                   By:               /s/ Christopher H. McGrath
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 5
     Counsel for Plaintiff                                    Counsel for All Defendants
 6
 7
            IT IS SO ORDERED.
 8
 9
10                                                     UNITED STATES DISTRICT JUDGE

11
                                                       DATE:
12
13                                                     CASE NO.: 2:21-cv-01612-JAD-BNW
14
15                                       ORDER
16          IT IS ORDERED that ECF No. 33 is GRANTED in part and DENIED in
            part consistent with this Order.
17
            It is GRANTED to the extent that the lead Plaintiff will have 60 days to
18          file an amended complaint and Defendants will have 30 days to file an
19          answer or motion to dismiss.

20          IT IS FURTHER ORDERED that the parties' request for extended
            briefing on the motion to dismiss is DENIED without prejudice. The
21          Court, again (see ECF No. 31), advises the parties that they must
22          separately file a request for extended briefing on a motion to dismiss, as
            this will be decided by the District Judge.
23                                    IT IS SO ORDERED
                                      DATED: 10:45 am, March 02, 2022
24
25                                    BRENDA WEKSLER
                                      UNITED STATES MAGISTRATE JUDGE

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                                                             3
